

Hettinga v Nahoum (2021 NY Slip Op 02097)





Hettinga v Nahoum


2021 NY Slip Op 02097


Decided on April 06, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 06, 2021

Before: Renwick, J.P., Kennedy, Scarpulla, Shulman, JJ. 


Index No. 653691/18 Appeal No. 13537 Case No. 2020-00769 

[*1]Wylmina Hettinga, Plaintiff-Appellant, Coastal Benefits, LLC, et al., Plaintiffs,
vAlan T. Nahoum et al., Defendants-Respondents.


Wylmina Hettinga, appellant pro se.
Cole Schotz P.C., New York (Krista L. Kulp of counsel), for respondents.



Order, Supreme Court, New York County (Gerald Lebovits, J.), entered August 14, 2019, which, to the extent appealed from as limited by the briefs, dismissed plaintiff Wylmina Hettinga's claims without prejudice to her filing a new complaint in her individual capacity, unanimously affirmed, without costs.
Hettinga has set forth no persuasive basis to disturb the motion court's dismissal of her claims without prejudice where the complaint intermingled plaintiffs' direct and derivative claims into single causes of action (Abrams v Donati, 66 NY2d 951, 953 [1985]; Billig v Schwartz, 190 AD3d 547, 548 [1st Dept 2021]; Barbour v Knecht, 296 AD2d 218, 227-228 [1st Dept 2002]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 6, 2021








